Exhibit B
2/9/22, 7:24 PM                       Democrats cite Ku Klux Klan Act in suits over ‘Trump Train’ Texas bus incident | Texas | The Guardian




    Texas

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    Democrats cite Ku Klux Klan Act in suits over ‘Trump
    Train’ Texas bus incident
    Lawsuits claim Trump supporters conspired to intimidate and
    harass Biden-Harris campaigners

    Victoria Bekiempis
    Sat 26 Jun 2021 11.40 EDT

    A convoy of Trump supporters that swarmed a Biden-Harris campaign bus on a Texas
    highway last October violated the Ku Klux Klan Act of 1871, which prohibits violent
              California residents have certain rights with regard to the sale of personal information to
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    The lawsuits were filed by Eric Cervini, an author and volunteer; Wendy Davis, a
    former Texas state senator and a Biden campaign surrogate; David Gins, now a White
    House staffer; and Timothy Holloway, the bus driver. Cervini was driving his own car.

    The FBI previously confirmed it was investigating the incident in which a pack of
    vehicles flying flags in support of Trump’s re-election effort besieged a Biden bus on a
    Texas highway.

    Court documents say some members of a New Braunfels Trump Train were “identified
    in media reports and on social media as having taken part in the 6 January 2021
    insurrection” at the US Capitol.

    Court papers also say Congress passed the Ku Klux Klan Act in the aftermath of the
    civil war and during Reconstruction “to prevent groups from joining together to
    obstruct free and fair federal elections by intimidating and injuring voters, or denying
    them the ability to engage in political speech”.

    The members of the Trump Train “openly and wilfully violated that statutory
    command”, court papers say.

    In February a Democratic congressman from Mississippi, Bennie Thompson, joined
    with the National Association for the Advancement of Colored People to sue Donald
    Trump and his lawyer Rudy Giuliani under the KKK Act, accusing them of conspiring to
    incite the Capitol attack.

    The new lawsuits were filed on 24 June in federal court in the western district of Texas.
    They claim that on 27 October, when the Biden campaign made plans for the bus tour
    public, Trump Train members in Alamo City and New Braunfels plotted “to intercept
    and intimidate the bus as it traveled through Bexar, Comal, Hays and Travis counties”.

    As the bus traveled from Laredo to San Antonio on the morning of 30 October, papers
    say, about  15 toresidents
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    would wait for the bus while others said they were in position, court documents say.
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    When the bus left San Antonio, papers say, campaign members started seeing social
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    media posts about “the converging of vehicles”. When the bus left San Antonio city

    limits, a police escort departed. Not long after, court papers say, “Trump Train vehicles
    converged on the bus”.

    The papers say: “Vehicles – most of them large trucks and SUVs – displayed a variety of
    flags, including Trump campaign flags, Confederate battle flags and many others. The
    Trump Train began harassing the bus by surrounding it, forcing it to slow down,
    honking, yelling and making hand gestures. Vehicles started getting close to the bus
    and taking videos.”




                      00:56


            Convoys of Trump supporters take to roads after Biden campaign bus incident – video

    After the bus arrived in New Braunfels, a staffer called police, who sent vehicles to
    escort the bus. “As soon as the police arrived, the Trump Train resumed driving at
    around the posted speed limit and stopped harassing the bus passengers,” court
    documents say.
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    “When the bus tour reached the New Braunfels-San Marcos city line, however, the New
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                         The bus passengers say they were “terrified” and called police
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    campaign was reporting a crime, we can’t help you.’”


    Campaign staffers say they “pleaded” for help. But while San Marcos police “assured”
    them they would send backup, court documents say, none came.

    San Marcos police did not immediately respond to a request for comment.

    One Trump Train participant is alleged to have “side-swiped” a campaign staffer’s SUV.
    A campaign event was cancelled.

    Davis, who rose to national attention with a 13-hour filibuster in an attempt to block a
    draconian abortion bill in 2013, said: “We filed this lawsuit because everyone should be
    able to engage in peaceful political activity free from fear, intimidation, or threats of
    violence.”


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